                        THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                              GREENSBORO DIVISION

KENNETH JEFFREYS,                                    )
an individual,                                       )
                                                     )
               Plaintiff,                            )
                                                     )       CASE NO.: 1:21-cv-00636
vs.                                                  )
                                                     )
PALLADIUM RETAIL, LLC                                )
a North Carolina Limited Liability Company,          )
                                                     )
and                                                  )
                                                     )
OHERRING PROPERTIES, INC.,                           )
a North Carolina Corporation,                        )
                                                     )
               Defendants.                           )
                                                     )


                                      COMPLAINT

       Plaintiff, KENNETH JEFFREYS, through his undersigned counsel, hereby files this

Complaint and sues PALLADIUM RETAIL, LLC, a North Carolina Limited Liability Company,

and OHERRING PROPERTIES, INC., a North Carolina Corporation, for injunctive relief,

damages, attorneys’ fees and costs pursuant to 42 U.S.C. § 12181 et seq., (“Americans with

Disabilities Act” or “ADA”) and alleges:

                             JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181, et seq., (the “ADA”). This Court is vested

with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343. This Court has supplemental

jurisdiction over the subject matter of all other claims pursuant to 28 U.S.C. §1367(a).

       2.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), because the




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Defendants’ Property, which is the subject of this action, is located in Guilford County, North

Carolina.

       3.      Plaintiff, KENNETH JEFFREYS, (hereinafter referred to as “MR. JEFFREYS”

or “Plaintiff”), is a resident of Wake County, North Carolina.

       4.      MR. JEFFREYS, is an individual with a qualified disability under the ADA. In

1992, MR. JEFFREYS was hit by a drunk driver while working on his job. As a result of that

accident, MR. JEFFREYS is a double leg amputee.

       5.      Due to his disability, MR. JEFFREYS is substantially impaired in several major

life activities and requires a wheelchair for mobility.

       6.      Upon information and belief, PALLADIUM RETAIL, LLC, a North Carolina

Limited Liability Company, (hereinafter referred to as “Defendant”) is registered to do business

in North Carolina. Upon information and belief, PALLADIUM RETAIL, LLC, is the owner

and/or operator of the real property and improvements which are the subject of this action, to

wit: Palladium at Deep River (hereinafter referred to as the “Property,”) which is generally

located at 5830-5836 Samet Drive, High Point, NC 27265.

       7.      Upon information and belief, OHERRING PROPERTIES, INC., a North Carolina

Corporation, (hereinafter referred to as “Defendant”) is registered to do business in North

Carolina. Upon information and belief, OHERRING PROPERTIES, INC., is the owner and/or

operator of the real property and improvements which are the subject of this action, to wit:

Palladium at Deep River (hereinafter referred to as the “Property,”) which is generally located at

5830-5836 Samet Drive, High Point, NC 27265.

       8.      All events giving rise to this lawsuit occurred in the Middle District of North

Carolina, Guilford County.

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                                           COUNT I
                              (VIOLATION OF TITLE III OF THE ADA)

          9.    Plaintiff realleges and reavers Paragraphs 1 - 8 as if they were expressly restated

herein.

          10.   The Property, a retail shopping plaza, is open to the public and provides goods

and services to the public.

          11.   Plaintiff has visited the Property discussed herein multiple times and plans to visit

again in the near future.

          12.   However, during his most recent visit, MR. JEFFREYS experienced serious

difficulty accessing the goods and utilizing the services at the Property due to the architectural

barriers discussed in this Complaint.       Moreover, but for the inaccessible condition of the

Property, Plaintiff would like to visit the Property more often.

                13.    Due to the barriers, Plaintiff has been unable to, and continues to be

unable to, enjoy full and equal access to good and services offered at the Property, owned,

leased, and/or operated by Defendants. Additionally, MR. JEFFREYS continues to desire to

visit the Property, but fears that he will again encounter serious difficulty and safety hazards due

to the barriers discussed herein which still exist.

                14.    Defendants have discriminated, and continue to discriminate, against

Plaintiff in violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302 et seq. by excluding

and/or denying Plaintiff the benefits of the goods and services located on the Property by failing

to provide and/or correct the following barriers to access which Plaintiff personally observed,

encountered, and which hindered his access:

                A.     Plaintiff encountered inaccessible parking at parking designated as


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                       accessible throughout the Property due to excessive long and cross slopes.

                       This condition made it difficult for Plaintiff to safely transfer in and out of

                       his vehicle and into the access aisle;

               B.      Plaintiff encountered inaccessible curb ramps on the designated accessible

                       routes throughout the Property due to excessively steep slopes, excessive

                       lips, and a lack of level landings. These conditions made it difficult and

                       for Plaintiff to maneuver along the accessible route of travel and increased

                       his risk of fall;

               C.      Plaintiff encountered inaccessible routes throughout the Property due to

                       excessive cross slopes. These conditions made it difficult for Plaintiff to

                       safely navigate around the Property;

               D.      Plaintiff encountered inaccessible entrances throughout the Property due

                       to lack of level pull side clearance area. These conditions made it difficult

                       for Plaintiff to safely open tenant doors and increased his risk of fall; and

               E.      Plaintiff encountered inaccessible restroom at Buffalo Wild Wings due to

                       lack of rear grab bar. This condition made it difficult for Plaintiff to use

                       the restroom and increased his chances of falling.

       14.     Upon information and belief, there are other current violations of the ADA and

       the

ADA Accessibility Guidelines (“ADAAG”) at the Property, and only after a full inspection is

performed by the Plaintiff or Plaintiff’s representatives can all said violations be identified.

       15.     To date, the readily achievable barriers and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance with the

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provisions of the ADA.

       16.     Independent of his intent to return as a patron to the Property, Plaintiff

additionally intends to return to the Property as an ADA tester to determine whether the barriers

to access stated herein have been remedied.

       17.     Removal of the barriers to access located on the Property is readily achievable,

structurally feasible and easily accomplishable without placing an undue burden on Defendants.

       18.     Removal of the barriers to access located on the Property would allow Plaintiff to

fully utilize the goods and services located therein.

       19.     The Plaintiff has been obligated to retain undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs, and

expenses paid by Defendants.

                                     PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff demands judgment against Defendants and requests the

following injunctive and declaratory relief:

       A.      That the Court declare that the Property owned, leased, and/or operated by

               Defendants are in violation of the ADA;

       B.      That the Court enter an Order directing Defendants to alter its facility to make

               them accessible to and useable by individuals with disabilities to the full extent

               required by Title III of the ADA;

       C.      That the Court enter an Order directing Defendants to evaluate and neutralize its

               policies and procedures towards persons with disabilities for such reasonable time

               so as to allow Defendants to undertake and complete corrective procedures;


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      D.     That the Court award reasonable attorneys’ fees, costs (including expert fees), and

             other expenses of suit, to the Plaintiff; and

      E.     That this Court award Plaintiff such other additional and proper relief as may be

             just and equitable.



Date: August 12, 2021

                                            Respectfully Submitted,


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